       Case 2:10-cr-00255-TLN Document 109 Filed 03/06/15 Page 1 of 2


1    MALCOLM S. SEGAL - 075481
     SEGAL & ASSOCIATES, PC
2
     400 Capitol Mall, Suite 2550
3    Sacramento, CA 95814
     Telephone: (916) 441-0886
4    msegal@segal-pc.com
5
     Attorneys for Defendant
6    KIEDOCK KIM
7

8

9                 IN THE UNITED STATES DISTRICT COURT FOR THE
10
                              EASTERN DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA,                       CASE NO: 2:10-CR-0255-TLN
13
                                                     STIPULATION AND ORDER
14               Plaintiff,                          MODIFYING TERMS OF
15                                                   JUDGMENT AS TO DEFENDANT
                  vs.                                KIEDOCK KIM
16
     FRENCH GULCH NEVADA MINING
17
     CORPORATION, BULLION RIVER
18   GOLD CORPORATION, PETER
     MARTIN KUHN, and KIEDOCK KIM,
19

20             Defendants.
     _____________________________/
21

22         At the request of the defendant, KIEDOCK KIM, through his counsel of
23   record, and plaintiff United States of America, through its counsel, Assistant
24   United States Attorney Samuel Wong, the parties agree and stipulate that the
25   defendant’s judgment and sentencing be amended to state that:
26         The Court recommends that the defendant be incarcerated at the Satellite
27   Camp at Herlong, California, but only insofar as this accords with security
28   classification and space availability.
                                                   1
                  Stipulation and Order Modifying Terms of Judgment as to Defendant Kiedock Kim
       Case 2:10-cr-00255-TLN Document 109 Filed 03/06/15 Page 2 of 2


1    Dated: March 5, 2015                     Respectfully submitted,
2
                                              SEGAL & ASSOCIATES, PC
3

4                                      By:    /s/ Malcolm Segal
5                                             MALCOLM SEGAL
                                              Attorneys for Defendant
6                                             KIEDOCK KIM
7

8                                      By:    /s/ Samuel Wong ________________
     Dated: March 5, 2015                     SAMUEL WONG
9                                             Assistant United States Attorney
10                                            (By permission)

11
                                              ORDER
12

13         GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,
14   the Defendant’s judgment shall be amended to state that:
15
           The Court recommends that the defendant be incarcerated at the Satellite
16
     Camp at Herlong, California, but only insofar as this accords with security
17

18   classification and space availability.
19         IT IS SO ORDERED.
20
     Dated: March 6, 2015
21

22

23
                                              Troy L. Nunley
24                                            United States District Judge

25

26
27

28
                                                  2
             Stipulation and Order Modifying Terms of Judgment as to Defendant Kiedock Kim
